                               Summary of Exhibits
Exhibit 1 - Proposed Order

Exhibit 2 - Notice of Motion and Opportunity to Object

Exhibit 3 - None [Brief Not Required]

Exhibit 4 - None [Separate Certificate of Service to be Filed]

Exhibit 5 - Affidavits [Not Applicable]

Exhibit 6 A - June 26, 2014 Hearing Transcript

Exhibit 6 B - August 6, 2014 Hearing Transcript

Exhibit 6 C - July 22, 2014 K. Orr Deposition Transcript

Exhibit 6 D - 6/13/14 Email from G. Shumaker to B. Arnault




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 13-53846-tjt   Doc 6982-1   Filed 08/22/14   Entered 08/22/14 16:24:26   Page 1 of 1
